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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.09/20)
                          6/03) Judgment in a Civil Case



                                       United States District Court
                                                 Southern District of Georgia
                  THEODORE GORDON,

                  Plaintiff,
                                                                                    JUDGMENT IN A CIVIL CASE


                                            V.                                    CASE NUMBER:        CV421-040

                  ANTHONY LOWVEL DUNBAR; EVANS
                  DELIVERY COMPANY, INC.; THORNE
                  TRUCKING COMPANY, LLC; NATIONAL
                  UNION FIRE INS. CO.; and AIG
                  PROP. CASUALTY COMPANY;

                  Defendants.


                     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                     has rendered its verdict.

                     Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                     rendered.

                     IT IS ORDERED AND ADJUDGED
                     that in accordance with this Court's Order dated November 3, 2021 adopting the Report and

                     Recommendation of the U.S. Magistrate Judge, the Plaintiff's Complaint is dismissed. This case

                     stands closed.




           November 4, 2021                                                     John E. Triplett, Clerk of Court
           Date                                                                 Clerk



                                                                                (By) Deputy Clerk
GAS Rev 10/2020
